Case: 2:04-cv-01156-EAS-MRM Doc #: 100 Filed: 10/24/06 Page: 1 of 4 PAGEID #: 1286




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

RICHARD COOEY, et al.,

                 Plaintiff,

        v.                                                   Case No. 2:04-cv-1156
                                                             JUDGE GREGORY L. FROST
ROBERT TAFT, et al.,                                         Magistrate Judge Mark R. Abel

                 Defendants.

                                         OPINION AND ORDER

        Richard Cooey, a state prisoner sentenced to death by the State of Ohio, is the original

plaintiff in a civil rights action pending before this Court that challenges multiple facets of the

lethal injection protocol used by the State of Ohio. This matter is before the Court upon Jerome

Henderson’s emergency motion to intervene (Doc. # 60), Defendants’ brief in opposition (Doc. #

68), and Henderson’s reply (Doc. # 76).1 For the reasons that follow, Henderson’s motion is

DENIED WITHOUT PREJUDICE.

        On September 20, 2006, this Court issued an opinion and order denying without

prejudice Jeffrey Lundgren’s emergency motion to intervene, explaining that Lundgren had

failed to exhaust administrative remedies–namely, a direct grievance to the Office of the Chief

Inspector pursuant to Ohio Administrative Code § 5120-9-31–as required by the Prison

Litigation Reform Act (“PLRA”), i.e., 42 U.S.C. § 1997e(a). The Court incorporates by

reference that decision and attaches it for convenience. (Doc. # 73.) On October 5, 2006, this

Court issued an opinion and order denying without prejudice Lundgren’s amended emergency


        1
                  Also before the Court are Henderson’s motion to supplement the pleadings (Doc. # 62), amended
complaint for injunctive and declaratory relief (Doc. # 63), motion to supplement the pleadings (Doc. # 78), and
motion to deem administrative remedies exhausted (Doc. # 88).
Case: 2:04-cv-01156-EAS-MRM Doc #: 100 Filed: 10/24/06 Page: 2 of 4 PAGEID #: 1287




motion to intervene, this time because of Lundgren’s failure to demonstrate complete exhaustion

of his administrative remedies with evidence of the administrative disposition of his grievance,

i.e., a decision by the Chief Inspector. The Court incorporates by reference that decision and

attaches it for convenience. (Doc. # 86.)

       Turning to Henderson’s emergency motion to intervene in this action, it does not appear

from the face of that motion that Henderson has exhausted his administrative remedies as

required by the PLRA. That is, it does not appear that, at the time that Henderson filed his

motion to intervene, he had filed a grievance directly to the Office of the Chief Inspector and had

received a decision by the Chief Inspector disposing of that grievance. It appears that, on August

28, 2006, Henderson filed both an appeal to the Office of the Chief Inspector (Doc. # 76-4) and a

grievance directly to the Office of the Chief Inspector (Doc. # 76-5). It does not appear that the

Chief Inspector has issued a decision on either. Thus, at the time he filed his emergency motion

to intervene, Henderson had not completely exhausted his administrative remedies as required by

the PLRA. See, e.g., Brown v. Toombs, 139 F.3d 1102, 1104 (6th Cir. 1998) (“A prisoner should

attach to his § 1983 complaint the administrative decision, if it is available, showing the

administrative disposition of his complaint.”); see also Knuckles El v. Toombs, 215 F.3d 640,

642 (6th Cir. 2000) (“a prisoner must plead his claims with specificity and show that they have

been exhausted by attaching a copy of the applicable administrative dispositions to the complaint

or, in the absence of written documentation, describe with specificity the administrative

proceeding and its outcome.”).

       Henderson urges this Court to issue an order deeming his administrative remedies to have

been exhausted due to the failure of the Chief Inspector to issue a decision on his grievance


                                                 2
Case: 2:04-cv-01156-EAS-MRM Doc #: 100 Filed: 10/24/06 Page: 3 of 4 PAGEID #: 1288




within thirty days of receipt of that grievance or to demonstrate good cause, with notice to

Henderson, for extending the thirty-day limit. (Doc. # 88.) It is true, as Henderson points out,

that Ohio Administrative Code § 5120-9-31(L) requires the Chief Inspector to respond within

thirty calendar days of receipt of the grievance or to demonstrate good cause, with notice to the

inmate, for extending the time in which to respond. Henderson is also correct that, under

controlling Sixth Circuit law, “administrative remedies are exhausted when prison officials fail

to timely respond to a properly filed grievance.” Boyd v. Corr. Corp. of Am., 380 F.3d 989, 996

(6th Cir. 2004). These facts are of no avail to Henderson, however, because exhaustion of his

administrative remedies must be complete at the time that he files his complaint. At the time

that Henderson filed his emergency motion to intervene and proposed complaint, exhaustion of

his administrative remedies–i.e., the filing of a grievance directly to the Chief Inspector and

either a decision by the Chief Inspector or the expiration of the thirty-day limit for issuing a

decision without a demonstration of good cause and notice to Henderson– was not complete.

Under the PLRA and Sixth Circuit law, an inmate is not permitted to file his § 1983 complaint

and then exhaust his administrative remedies. Rather, he must completely exhaust his

administrative remedies before he files his § 1983 complaint. See, e.g., 42 U.S.C. § 1997e(a);

Brown v. Toombs, supra, 139 F.3d at 1104; White v. McGinnis, 131 F.3d 593, 595 (6th Cir.

1997).

         In sum, the Court is constrained to deny Henderson’s emergency motion to intervene

(Doc. # 60), without prejudice, due to Henderson’s failure to exhaust administrative remedies

available to him in violation of 42 U.S.C. § 1997e(a). Although Henderson could argue that

exhaustion of his administrative remedies is now complete, given the fact that it does not appear


                                                  3
Case: 2:04-cv-01156-EAS-MRM Doc #: 100 Filed: 10/24/06 Page: 4 of 4 PAGEID #: 1289




that the Chief Inspector, within thirty days of receiving Henderson’s grievance, issued a response

or demonstrated good cause with notice to Henderson for extending that thirty-day time limit,

that was not the case at the time that Henderson filed his motion to intervene and proposed

complaint. Therefore, this Court is constrained to dismiss his emergency motion to intervene for

want of exhaustion.

       For the foregoing reasons, Jerome Henderson’s emergency motion to intervene (Doc. #

60) is DENIED WITHOUT PREJUDICE for the failure to exhaust administrative remedies.

The Court DENIES AS MOOT all of Henderson’s related motions (Docs. # 62, 78, 88).

       IT IS SO ORDERED.
                                                    /s/ Gregory L. Frost
                                                    GREGORY L. FROST
                                                    UNITED STATES DISTRICT JUDGE




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